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 1 Angela M. Machala (SBN: 224496)
   AMachala@winston.com
 2 WINSTON & STRAWN LLP
   333 S. Grand Avenue, 38th Fl.
 3 Los Angeles, CA 90071
   Telephone: (213) 615-1700
 4 Facsimile: (213) 615-1750
 5 Abbe David Lowell (admitted pro hac vice)
   AbbeLowellPublicOutreach@winston.com
 6 Christopher D. Man
   CMan@winston.com
 7 WINSTON & STRAWN LLP
   1901 L Street NW
 8 Washington, DC 20036
   Telephone: (202) 282-5000
 9 Facsimile: (202) 282-5100
10 Attorneys for Robert Hunter Biden
11
12                             UNITED STATES DISTRICT COURT
13                           CENTRAL DISTRICT OF CALIFORNIA
14
15 UNITED STATES OF AMERICA,                            Case No. 2:23-cr-00599-MCS-1
16                        Plaintiff,                    Hon. Mark C. Scarsi
17         vs.                                          DECLARATION OF ANGELA M.
                                                        MACHALA IN SUPPORT OF
18 ROBERT HUNTER BIDEN,                                 DEFENDANT’S MOTION TO DISMISS
                                                        THE INDICTMENT BASED ON
19                        Defendant.                    IMMUNITY CONFERRED BY HIS
                                                        DIVERSION AGREEMENT
20
                                                        Hearing Date: March 27, 2024
21                                                      Time:         1:00 PM
                                                        Place:        Courtroom 7C
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       DECLARATION OF ANGELA MACHALA IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS THE INDICTMENT BASED ON
                 IMMUNITY CONFERRED BY HIS DIVERSION AGREEMENT - CASE NO. 2:23-CR-00599-MCS-1
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 1                       DECLARATION OF ANGELA M. MACHALA
 2         I, Angela Machala, declare as follows:
 3         1. I am an attorney at law licensed to practice before all courts in the State of
 4 California and am the attorney of record for Mr. Robert Hunter Biden. I have personal
 5 knowledge of the matters contained in this declaration and, if called as a witness to testify,
 6 I could and would competently testify to them.
 7         2. I am a partner at Winston & Strawn LLP, located at 333 South Grand Avenue,
 8 Los Angeles CA 90071.
 9         3. Attached as Exhibit 1 is a true and correct copy of the July 26, 2023 Hearing
10 Transcript in United States v. Biden, No. 1:23-mj-274-MN and No. 1:23-cr-00061-MN,
11 before the Hon. Maryellen Noreika of the United States District Court for the District of
12 Delaware.
13         4. Attached as Exhibit 2 is a true and correct copy of the Executed Diversion
14 Agreement filed in United States v. Biden, No. 1:23-cr-00061-MN (DE 69-1).
15         5. Attached as Exhibit 3 is a true and correct copy of the Memorandum of Plea
16 Agreement filed in United States v. Biden, No. 1:23-mj-00274-MN (DE 28).
17         6. Attached as Exhibit 4 is a true and correct copy of the Declaration of Christopher
18 J. Clark, dated December 10, 2023, filed in United States v. Biden, No. 1:23-cr-00061-
19 MN (DE 60-2) and accompanying Exhibits A through T (DE 60-3 – 60-22).
20         7. Attached as Exhibit 5 is a redacted copy of the July 19, 2023 Pretrial Diversion
21 Report, signed by Margaret Bray (Chief U.S. Probation Office, District of Delaware), filed
22 in United States v. Biden, No. 1:23-cr-00061-MN (DE 60-23).
23         I declare under penalty of perjury under the laws of the State of California that the
24 foregoing is true and correct.
25         Executed on this 20th day of February, 2024 in Los Angeles, California.
26                                                     /s/ Angela M. Machala
27                                                     ANGELA M. MACHALA
28
                                                      1
       DECLARATION OF ANGELA MACHALA IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS THE INDICTMENT BASED ON
                 IMMUNITY CONFERRED BY HIS DIVERSION AGREEMENT - CASE NO. 2:23-CR-00599-MCS-1
